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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                              :
UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 1:21-CR-00186-CRC
                                              :
DAVID ALAN BLAIR,                             :
                                              :
                       Defendant.             :
                                              :


  SUPPLEMENT TO GOVERNMENT’S MOTION TO CHANGE STATUS HEARING
                            DATE

       The United States of America, by and through the Acting United States Attorney for the

District of Columbia, hereby supplements its motion to reschedule the next status hearing (doc.

19), which is currently set for November 1, 2021. The government has now conferred with

defense counsel on the subject and can advise that the defense does not oppose the motion,

provided the status hearing is in October, and that the defense is available on the dates and times

set forth in the motion.

                                                     Respectfully submitted,

                                                     CHANNING D. PHILLIPS
                                                     ACTING UNITED STATES ATTORNEY

                                                     /s/Michael C. Liebman
                                                     Michael C. Liebman
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